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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 PROFORM FINISHING PRODUCTS,                         )
 LLC f/k/a New NGC, Inc. d/b/a National              )
 Gypsum Company and GOLD BOND                        )
 BUILDING PRODUCTS, LLC,                             )
                                                     )              Case No. 1:19-cv-03978
             Plaintiffs,                             )
                                                                      Judge John F. Kness
                                                     )
 v.                                                  )
                                                                Mag. Judge Gabriel A. Fuentes
                                                     )
 Alpinebay, Inc.,                                    )
                                                     )
             Defendant.

                                   MOTION TO WITHDRAW

         Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, Plaintiff, by its attorneys, respectfully requests that this Court grant John J. Tully, Jr.

leave to withdraw his appearance in this matter. In support of this Motion, Plaintiff states as

follows:

         1. Mr. Tully has been local counsel for Plaintiff in this case.

         2. Mr. Tully has been appointed Associate Judge in the Circuit Court of Cook County.

         WHEREFORE, Plaintiff respectfully requests that the Court grant Mr. Tully leave to

withdraw.

                                                Respectfully submitted,

                                                TULLY & ASSOCIATES

                                               By:       /s/ John J. Tully, Jr.

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